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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

   LAI YING TSANG; SCOTT JEFFERSON,              Case No. 1:23-CV-00333-MWJS-
                                                 KJM
                        Plaintiffs,
               vs.                               DECLARATION OF MAX J. KIMURA
   PORTER MCGUIRE KIAKONA, LLP;
   ASSOCIATION OF APARTMENT OWNERS               [IN SUPPORT OF PLAINTIFFS
   OF THE PACIFIC ISLANDER,                      MEMORANDUM IN OPPOSITION
                                                 TO DEFENDANT’S MOTION FOR
                        Defendants.              SUMMARY JUDGMENT AND FOR
                                                 ATTORNEYS’ FEES]




                        DECLARATION OF MAX J. KIMURA

               I, MAX J. KIMURA, declare and state as follows:

               1.    I am one of the attorneys for the Plaintiffs Lai Ying Tsang

   and Scott Jefferson in the present action.

               2.    All of the facts stated in Plaintiffs’ Memorandum in

   Opposition are true and correct and within my personal knowledge, except for

   matters stated to be true on information and belief.

               Declarant states under penalty of law that the above is true and

   correct.

               Executed this 25th day of October 2024 in Honolulu, Hawaii.




                                        MAX J. KIMURA
